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                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO
   Civil Action No. 1:13-cv-02695-WYD-MEH

   MALIBU MEDIA, LLC,

               Plaintiff,
   v.

   LAWRENCE HUSEMAN,

         Defendant.
   _________________________________/

                             PLAINTIFF’S MOTION FOR SANCTIONS
                       AGAINST DEFENDANT FOR SPOLIATION OF EVIDENCE

          I.       INTRODUCTION

               Defendant specifically deleted material evidence from his hard drive in an attempt to

   avoid liability for infringing Plaintiff’s copyrighted works. Only by conducting a forensic

   examination of Defendant’s hard drive did Plaintiff discover that, not only did Defendant’s

   computer contain Plaintiff’s movies, but that Defendant deleted these movies in order to cover

   his tracks. Specifically, Plaintiff discovered the remnants of torrent files and X-Art movie files

   in the unallocated space of Defendant’s hard drive. Plaintiff’s expert report unequivocally

   establishes that (1) Defendant used BitTorrent to search for and download Plaintiff’s copyrighted

   works and (2) Defendant deleted Plaintiffs’ works from his computer. Defendant’s blatant

   spoliation warrants severe sanctions. Accordingly, this Court should grant Plaintiff’s Motion for

   Sanctions and enter a default judgment in Plaintiff’s favor.




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          II.      FACTS

                A. Defendant Spoiled Evidence

                Plaintiff’s forensic expert, Patrick Paige of Computer Forensics, LLC, examined

   Defendant’s hard drives and discovered that numerous files associated with Plaintiff’s

   copyrighted works had been deleted. See Patrick Paige’s Expert Report, (“Paige Decl.”) attached

   hereto as Exhibit “A”. Despite having been erased, Mr. Paige recovered fragments of torrent and

   media files, which make clear that Defendant used BitTorrent to download and distribute

   Plaintiff’s copyrighted works. Thus, Mr. Paige’s examination paints a clear picture illustrating

   Defendant’s intent and nearly successful attempt to defraud both Plaintiff and this Court.

                   1. Forensic Examination of A Hard Drive

                A hard drive contains two types of spaces, allocated and unallocated. The unallocated

   space of a hard drive is not viewable to the typical computer user and requires specialized

   computer forensic software to view and analyze. See Paige Decl. ¶49. Unallocated space can

   contain deleted files or partially deleted files. Id. When a file is deleted, the pointers to the file

   are removed, but the data remains in unallocated space until such time as the operating system

   stores another file in the same space, thereby over-writing the data. Id. Thus, “[e]ven though

   deleted data disappears from visible view, it is not destroyed until it is overwritten by new data.”

   Plugged In: Guidebook to Software and the Law § 6:2. “This overwriting … in the unallocated

   space occurs … [at a rate of] thousands of clusters a second[.]” Id. “The longer a file is deleted,

   the more likely all its clusters have been reassigned to other active files, making the recovery of

   the deleted file impossible.” Id. Therefore, the timely acquisition and imaging of a hard drive

   directly impacts the preservation and potential discovery of evidence that a defendant may seek

   to destroy. If a defendant deletes evidence, Plaintiff’s best chance at discovering and possibly



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   recovering the deleted evidence is through the immediate acquisition of a defendant’s hard drive

   and subsequent examination of its unallocated space.

                               2. Forensic Examination Result of Defendant’s Hard Drive

                     To determine if spoliation occurred, Mr. Paige examined the unallocated space within

   Defendant’s hard drive. Within the unallocated space of Defendant’s hard drive, Mr. Paige

   located internet history demonstrating that Defendant searched for X-Art content as early as July

   2013 – four months prior to commencement of this suit.1 See Paige Decl.. ¶44. However, when

   specifically asked if he had searched for X-Art or Malibu Media files, Defendant responded,

   “Yes, I searched for the above terms directly when researching upon being served this case.” See

   Defendant’s Response to Plaintiff’s First Set of Interrogatories (“Def. Interrogatory Resp.”),

   attached here to as Exhibit “B,” at No. 20. Notably, Defendant failed to mention the Internet

   history that occurred well before this lawsuit started. See id.

                     Further, Defendant did not just merely search for X-Art, he downloaded it through

   BitTorrent as well. See Paige Decl. ¶46(a)-(c). Indeed, Mr. Paige specifically located nineteen

   (19) BitTorrent file fragments related to X-Art within unallocated space. See id. Using forensic

   software, Mr. Paige searched the hard drive for “Bencode Files,”	   which are encoding files

   commonly used by torrent files. See id. at ¶47. Specifically, Mr. Paige used the EnScript,

   “BitTorrent Bencode File Finder (V2)” to locate these files on the hard drive. Notably, upon

   searching the unallocated space of the hard drive, Mr. Paige discovered numerous Bencode Files,

   with thirty-six (36) relating to Malibu Media or X-Art torrents. See id. at 46(c). Importantly, all

   the files relating to Malibu Media or X-Art were found only in the computer’s unallocated space.

   See Paige Decl. ¶48. This means that any and all evidence regarding Defendant’s internet

   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
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                  Plaintiff also discovered that Defendant internet history contained X-Art content on various occasions
   between March 2014 and June 2014 – after commencement of this suit.

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   history, downloads, and distributions of X-Art content via BitTorrent had been deleted. Only

   through Mr. Paige’s expertise was Plaintiff able to discover evidence of Defendant’s attempt to

   defraud Plaintiff and this Court.

          B. Plaintiff’s Additional Evidence Irrefutably Links Defendant to the Spoliation
             and BitTorrent Use

          Defendant is undeniably a serial copyright infringer. Using software entitled “Internet

   Evidence Finder 6.4.2.0070 by Magnet Forensics,” Mr. Paige searched Defendant’s hard drive

   for evidence of BitTorrent use. See Paige Decl. ¶41. Defendant’s computer was riddled with

   such evidence. Indeed, Mr. Paige discovered a total of one hundred and eight-four (184)

   BitTorrent URLs, eight hundred and seventy (870) BitTorrent file fragments, and evidence of

   uTorrent, a BitTorrent client. See Paige Decl. ¶¶42, 43, and 46(b).

          Plaintiff’s expert report also contains a list of file names discovered on the spoiled hard

   drive. See Exhibit G attached to Paige Decl. Many of these files correlate directly with the files

   listed on Plaintiff’s Additional Evidence report of third party infringements. See Exhibit H

   attached to Paige Decl. To be clear, the same exact files that were stored on the spoiled drive

   were also detected by Plaintiff’s investigator as being downloaded by the same IP address that

   infringed Plaintiff’s work. For example, Plaintiff’s Additional Evidence includes third-party

   works with titles, “Redheads Are Sexy,” “The Pharcyde,” “Telepopmusik,” “Madeleine

   Peyroux,” and “Nubile Films” among others. Id. All of the foregoing titles were found on

   Defendant’s hard drive. See Exhibit G attached to Paige Decl. Such evidence proves that

   Defendant’s computer was the computer monitored by Plaintiff’s investigator and was the

   computer used to infringe Plaintiff’s works. Defendant’s denials ring hollow.




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          III.      LEGAL STANDARD

                 Spoliation is “the destruction or significant alteration of evidence, or the failure to

   preserve property for another’s use as evidence in pending or reasonably foreseeable litigation.”

   Philips Electronics North America Corp. v. BC Technical, 773 F. Supp. 2d 1149, 1194-95 (D.

   Utah 2011) (internal citations omitted). “[L]itigants have a duty to preserve documents or

   materials—including electronic documents and materials—that may be relevant to ongoing and

   potential future litigation.” Helget v. City of Hays, 2014 WL 1308893, *3 (D.Kan. 2014)

   (quoting, Philips Electronics North America Corp. v. BC Technical, 773 F. Supp. 2d 1149, 1195

   (D. Utah 2011)). “Spoliation sanctions are proper when (1) a party has a duty to preserve

   evidence because it knew, or should have known, that litigation was imminent, and (2) the

   adverse party was prejudiced by the destruction of the evidence.” Perkins v. Federal Fruit &

   Produce Company, Inc., 2014 WL 4392010 at *5 (D.Colo. 2014) (citing Turner v. Public Service

   Co. of Colo., 563 F.3d 1136, 1149 (10th Cir.2009)). “[I]f the aggrieved party seeks a remedy for

   spoliation, it must also prove bad faith.” Id.

          IV.       ARGUMENT

                 A. Defendant Had A Duty To Preserve Evidence On His Hard Drive

                 As the sole individual in possession of his hard drives, Defendant had a duty to preserve

   evidence on his hard drive. “It is well established that the duty to preserve evidence arises when

   a party reasonably anticipates litigation.”         McCargo v. Texas Roadhouse, Inc., 2011 WL

   1638992 at *3 (D. Colo. 2011) (quoting Pension Comm. of Univ. of Montreal Pension Plan v.

   Banc of Am. Sec., LLC, 685 F. Supp. 2d 456, 466 (S.D.N.Y. 2010)). “The duty to preserve

   means action must be taken to preserve evidence, meaning that it is not lost, destroyed,

   inadvertently or negligently overwritten, or intentionally wiped out, and that it is available to be



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   produced to the other side.” Id. In online copyright infringement cases such as this, there is a

   strong public interest in recognizing a defendant’s enforceable duty to ensure that material

   computer evidence is not deleted or altered. See e.g. Malibu Media, LLC v. John Does 1, 6, 13,

   14, 950 F. Supp. 2d 779, 788 (E.D. Pa. 2013) (“Bryan White’s wiping clean of his computer in

   attempting to cover up the fact that he had downloaded the BitTorrent software, as well as five of

   Malibu's movies, required a substantial penalty, and also to make a statement that would

   effectively deter others from acting as Bryan White had acted in this case.”)

          In this case, Defendant Lawrence Huseman has been aware of this lawsuit since October

   2013. Prior to filing, Plaintiff learned that between March 21, 2013 and October 6, 2013,

   Defendant was using the BitTorrent protocol to illegally download and distribute Plaintiff’s

   copyrighted works. Plaintiff is in possession of PCAPs which evidence that Defendant’s IP

   address downloaded and distributed Plaintiff’s copyrighted works within that time frame via the

   BitTorrent protocol.    Additionally, Plaintiff’s investigator, IPP International UG (“IPP”),

   produced a list of third party works, which IPP detected Defendant distributing through

   BitTorrent between December 12, 2012 and December 7, 2013 – after notification of this suit.

          Plaintiff’s Complaint against Defendant for direct copyright infringement was filed on

   October 3, 2013. On or around October 21, 2013, Defendant received a letter from Comcast

   Cable, advising him that Plaintiff had filed a federal lawsuit against Defendant. Therefore,

   Defendant has known about this case for over a year and received notice on or around October

   21, 2013. Receipt of this letter triggered Defendant’s duty to preserve all evidence. And,

   Defendant should have reasonably known that altering his hard drives by deleting any X-Art or

   BitTorrent activity was improper in light of the allegations within this lawsuit. Nevertheless,

   fragments of Plaintiff’s works were discovered in the hard drive’s unallocated space, and third-



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   party content downloaded after notification of this suit was never recovered. Accordingly,

   Defendant had a duty to preserve all contents of the hard drive and deliberately failed to do so.

                                                              B. Defendant’s Destruction Of Direct Evidence Of Copyright Infringement On His
                                                                 Hard Drive Was Done In Bad Faith

                                                              Defendant acted in bad faith when he destroyed Plaintiff’s copyrighted works and torrent

   files related to Plaintiff’s copyrighted works on his hard drive. “Bad faith is the antithesis of

   good faith and has been defined … to be when a thing is done dishonestly and not merely

   negligently. It is also defined as that which imports a dishonest purpose and implies wrongdoing

   or some motive of self-interest.” Cache La Poudre Feeds, LLC v. Land O'Lakes, Inc., 244

   F.R.D. 614, 635 (D. Colo. 2007).                                                                                                                                                                                                                    Plaintiff’s expert witness, Patrick Paige, discovered an

   abundance of evidence demonstrating Defendant’s extensive and habitual piracy of Plaintiff’s

   copyrighted works. Beyond the discovery of direct evidence of infringement, Mr. Paige’s

   examination revealed that Defendant engaged in targeted deletion of any files linking

   Defendant’s hard drive to Plaintiff’s copyrighted works and the intentional destruction of such

   evidence aimed at defrauding both Plaintiff and this Court.

                                                                                           1. Forensic Examination of Defendant’s Hard Drive Revealed Spoliation

                                                              On September 2, 2014, Mr. Paige received an image of Defendant’s hard drive from

   Defendant’s expert witness, David Penrod of Forensic Data Discovery in Colorado. Mr. Paige’s

   examination of Defendant’s hard drive revealed: (a) the existence of two (2) media video

   fragment files of Plaintiff’s copyrighted works; (b) nineteen (19) BitTorrent file fragments

   related to Plaintiff’s copyrighted works; and (c) thirty-six (36) bencode files2 relating to

   Plaintiff’s copyrighted works. Significantly, all of the foregoing files were discovered in the

   hard drive’s unallocated space. Discovery of these files in the unallocated space unquestionably

   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
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            Bencode files are encoding files commonly used by torrent files.

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   confirms Defendant’s bad faith deletion. Indeed, Defendant deleted any and all digital evidence

   linking his hard drive to any Malibu Media or X-Art content, all the while, leaving other third-

   party BitTorrent files perfectly intact in the hard drive’s allocated space. Such a massive

   targeted deletion could only have been completed in bad faith.

          Further, Defendant’s deletion would have appeared to be permanent to the average user,

   such as Defendant. Indeed, in deleting Plaintiff’s copyrighted works, Defendant truly believed

   that the deletion was permanent and the targeted files could not be recovered. Unfortunately,

   Defendant was partially correct; only remnants of the files remain and thus the discovered files

   are unrecoverable.

          C. Plaintiff Is Prejudiced By Defendant’s Destruction Of Evidence

          Defendant’s purposeful spoliation of evidence has severely prejudiced Plaintiff.

   Although Plaintiff discovered substantial evidence of direct infringement, it was only able to

   recover fragments of select files. Specifically, Mr. Paige’s examination revealed evidence of the

   prior existence of three (3) of Plaintiff’s copyrighted works listed on Exhibit B to Plaintiff’s

   Amended Complaint – “Erotic Stretching and Sex,” “Sneaking In,” and “Czech Beauties.”

   Because these files had been deleted, Mr. Paige was only able to recover fragments of the files

   which were limited to small video portions or titles of the infringing files.

          Plaintiff believes that the remaining works listed on its Complaint were deleted and have

   since been overwritten and are thus unrecoverable. Indeed, “[d]ata in unallocated space is

   analogous to random, unbundled, and unorganized piles of confetti or shredded paper[.]”

   Plugged In: Guidebook to Software and the Law § 6:2. In this case, all fragments of files

   evidencing Defendant’s searched, downloading, and distribution Plaintiff’s copyrighted works

   were located in the unallocated space of the hard drive. Therefore, Plaintiff will not ever be able



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   to locate or recover the infringing copies of those works. Accordingly, Plaintiff has been

   prejudiced by Defendant spoliation of evidence in an attempt to conceal all of his infringements

   of Plaintiff’s works.

          D. Default Judgment Should be Entered Against Defendant for His Spoliation

          By deleting BitTorrent files and Plaintiff’s works from his hard drive, Defendant

   intentionally altered and destroyed relevant material evidence in an attempt to purposefully

   mislead and defraud Plaintiff and the Court. Accordingly, this Court should enter a default

   judgment against the Defendant. In the Bellwether trial, the Honorable Judge Baylson held that

   spoliation and perjury deserve “a heavy dose of damages” to deter others. He also noted that

   “[i]n a criminal case, this conduct would be denominated as obstruction of justice.”

          [I]n this case, because of Bryan White's having perjured himself at the Rule 104
          hearing and having taken steps to destroy and conceal evidence, a further
          substantial award of damages was necessary. In a criminal case, this conduct
          would be denominated as obstruction of justice. Bryan White's wiping clean of his
          computer in attempting to cover up the fact that he had downloaded the
          BitTorrent software, as well as five of Malibu's movies, required a substantial
          penalty, and also to make a statement that would effectively deter others from
          acting as Bryan White had acted in this case.

   Malibu Media, LLC v. John Does 1, 6, 13, 14, 950 F. Supp. 2d 779, 788 (E.D. Pa. 2013).

          In this case, because of the intentional spoliation no sanction short of default judgment is

   appropriate. Default judgment is routinely awarded in such situations. See e.g. Atl. Recording

   Corp. v. Howell, 2008 WL 4080008 (D. Ariz. 2008) (court entered default judgment against

   defendant who deleted peer-to-peer program, deleted infringing files from his hard drive, and

   then gave false copies of his hard drive to plaintiff’s expert); Columbia Pictures, Inc. v. Bunnell,

   2007 WL 4877701 (C.D. Cal. 2007) (entering default judgment against defendants when

   defendants operated a BitTorrent website and destroyed evidence of online postings and then lied

   to the court about it); Arista Records, L.L.C. v. Tschirhart, 241 F.R.D. 462, 466 (W.D. Tex.

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   2006) (granting default judgment when defendant wiped her hard drive, stating “defendant's

   conduct shows such blatant contempt for this Court and a fundamental disregard for the judicial

   process that her behavior can only be adequately sanctioned with a default judgment.”)

          V.      CONCLUSION

               For the foregoing reasons, Plaintiff respectfully requests this Court grant the instant

   Motion, enter a default judgment against Defendant and award Plaintiff its reasonable fees and

   expenses.

               Dated: November 7, 2014

                                                          Respectfully submitted,

                                                          By: /s/ Jason Kotzker
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                                      CERTIFICATE OF SERVICE

          I hereby certify that on November 7, 2014, I electronically filed the foregoing document
   with the Clerk of the Court using CM/ECF and that service was perfected on all counsel of
   record and interested parties through this system.

                                                          By: /s/ Jason Kotzker

   	  




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